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                           UMTED STATESDISTRICTCOURT
                           MIDDLEDISTRICTOFLOUISIANA

TASHA HERBERT,
an individual,                                     CASENO.:

              Plaintifi
                                                   Judge:
vs.

TA}.IGERFACTORYOUTLET
CENTERS,   INC                                     Magistrate:
a NorttrCarolinacorporation,

             Defendant.


                                       COMPLAINT

      Plaintifr TASHA FDRBERT, by and ttuough her rurdersignedcounsel,herebyfiles this

ComplaintandsuesTANGERFACTORYOUTLETCENTERS,INC, aNorth Carolinacorporation,

for declaratoryand iqiunctive relief, attorneys'fees, and costspursuantto the Americanswith

DisabilitiesAct 42 U.S.C.g 12181et seg.,andalleges:

                             JTJRISI}ICTION AI\ID PARTJTES

l.    This is an action for declaratoryandinjurctive relief pursuantto Title III of the Arnericans

                                                              refenedto asthe*ADA"). This
      Wittl DisabilitiesAct, 42 U.S.C.S 1218l etseq.(hereinafter

      Courtis vestedwith originaljurisdictionpursuantto 28 U.S.C.SS133I and 1343.

2.    Venueis properin this Courtpursuantto 28 U.S.C.$1391O).

3.    Plaintitr, TASHA HERBERT, (hereinafter referred to as "MS. FIERBERT' or
      *PLAINTIFF")' is a resident
                                 of OrleansParish,Louisiana.
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4.     MS. HERBERTis a qualifiedindividualwith a disabilityundertheADA. MS. HERBERT

       is afflictedwith spinabifida.

5.     Dueto herdisability,PLAINTIFFis substantially
                                                   impairedin severalmajorlife activitiesand

       requiresa wheelchairor a walkerfor mobiliW.

6.     UPONiNfOTMAtiON
                    ANdbEIiEfDEfENdANt
                                    TANGERFACTORY OUTLET CENTERS.INC

       is a North Carolinacorporation,registeredto do businessin the Stateof Louisiana

       (hereinafter
                  referredto as "DEFENDANT"). DEFENDANTis the owner,lessee,lessor

       and/oroperatorof the realpropertiesandimprovements
                                                        which is the subjectof this action,

       TangerFactoryOutlet Center,generallylocatedat 2410TangerBoulevard Gonzales,LA

       70737.TheDEFENDANTis obligatedto complywith the ADA.

7.     All eventsgivingriseto thislawsuitoccurredin theMiddleDistrictof Louisiana,Ascension

       Parish,Louisiana.


                      COUNT I - VIOLATION OF TITLE III OF THB



8.                                          I - 7 asif theywereexpresslyrestatedherein.
       PLAINTIFFreallegesandreaversParagraphs

9.     TheProperlyis a placeof publicaccommodation,
                                                 subjectto theADA, generallylocatedat:

       2410TangerBoulevardGonzales,
                                 LA 70737
                                        .

10.    MS. HERBERT has visited the Propertynumeroustimes and plans to visit the Property

       again in the near future.

I l.   During thesevisits, MS. HERBERT experiencedseriousdifficulty accessingthe goodsand

       utilizing the servicestherein due to the architecturalba:riers as discussedin paragraph14 of
                                                2
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      this Complaint,

12.   MS. HERBERTcontinuesto desireto visit thePropsry,but continuesto experience
                                                                                serious

      diffrcultydueto the baniersdiscussed
                                         in Paragraph
                                                    14which still exist.

13.   MS. HERBERTintendsto andwill visit thePropertyto utilize the goodsandservicesin the

      future,but fearsthat shewill encounterthe sameba:riersto accesswhich arethe subjectsof

      this action.

14.   DEFENDANTis in violationof 42U.S.C.$ l2l 8l et seq.and28 C.F.R.$ 36.302etseq.and

      is discriminatingagainstPLAINTIFF dueto, but not limited to the following violations

      whichPLAINTIFF personallyobservedand/orensountered
                                                       which hinderedher access:

             A.      Inaccessibledisabled parking designatedas accessibledue to improper

                     striping, signage,slope,location, spacewidths and accessaisle widths;

             B.      There is no compliant accessibleroute from the parking areasto the facility;

             C.      There is no compliant accessibleroute from the streetto the facility;

             D.      There is no compliant accessibleroute betweenthe individual buildings that

                     comprise the facility;

             E.      There are ramps and curb cuts at the facility that do not have level landings

                     and/or contain excessiveslopes,ffid fails to provide a smooth transition

                     where the ramps connectwith the sidewalk and roadway;

             F.      The restrooms in the facility are non-compliant; and

             G.      Noncompliant door handles.

15.   Furthermore, DEFENDANT continues to discriminate against PLAINTIFF, and others

      similarly situated, by failing to make reasonablemodifications in policies, practicesor
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      procedures,when such modificationsare necessaryto provide PLAINTIFF an equal

      opportunityto participatein, or benefitfrom, the goods,services,facilities,privileges,

      advantages,
               andaccommodations
                               whichDEFENDANToffersto the generalpublic;andby

      failingto takesucheffortsthatmaybenecessary
                                               to ensurethatno individualwith adisability

      is excluded,denied services,segregated,or otherwisetreated differently than other

      individuals becauseof the absenceof auxiliaryaidsandservices.

16.   To date,all barriersto acsessandADA violationsstill existandhavenot beenremediedor

      alteredin sucha way as to effectuatecompliancewith the provisionsof the ADA, even

      thoughremovalis readilyachievable.

17.   Removal of the discriminatorybarriers to accesslocated on the Properfy is readily

      achievable,reasonablyfeasible,and easilyaccomplished,
                                                          and would not placean undue

      burdenon DEFENDANT.

19.   Removalof the barriersto accesslocatedon the Propertywould providePLAINTIFF an

      equalopportunityto participatein, or benefitfrom,thegoods,services,andacconrmodations

      whichDEFENDANToffersto the generalpublic.

20.   Independentof her intent to return as a patronto the Property,PLAINTIFF additionally

      intendsto returnasan ADA testerto determinewhetherthe barriersto accessstatedherein

      havebeenremedied.

21.   PLAINTIFF has been obligatedto retain the undersignedcounselfor the filing and

      prosecutionof this action. PLAINTIFF is entitledto haveher reasonable
                                                                          attorneys'fees,

      costs,andexpenses
                      paidby DEFENDANT,pursuant
                                              to 42 U.S.C.g 12205.

      WHEREFORE,PLAINTIFF demandsjudgmentagainstDEFENDANT, andrequeststhe
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following injunctiveanddeclaratoryreliefi

       A.     That this Court Declare that the Property owned, leased and/or operatedby

              DEFENDANT is in violationof the ADA;

       B.     Thatthis Court enteran OrderdirectingDEFENDANTto alterthe facility to make

                          to anduseableby individualswith disabilitiesto thefull extentrequired
              it accessible

              by Title III of the ADA;

       C.     Thatthis CourtenteranOrderdirectingDEFENDANTto evaluateandneutralizeits

              policies,practices,ffid procedures
                                               towardspersonswith disabilitiesfor a reasonable

                                                  andcompletionof correctiveprocedures;
              amountof time, allowingimplementation

       D.                                  attorneys'fees,costs(includingexpertfees),and
              Thatthis Court awardreasonable

              otherexpensesof suit,to PLAINTIFF;and

       E.                                                                       just and
              That this Court awardsuchotherandfurtherrelief as it deemsnecessary,

              proper.

                                                  RespectfullySubmitted,

                                                  THE BIZER LAW FIRM
                                                  Attorneysfor Plaintiff
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